2:19-cv-02261-CSB-EIL # 1-1   Page 1 of 14                                     E-FILED
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                                                          Clerk, U.S. District Court, ILCD
2:19-cv-02261-CSB-EIL # 1-1   Page 2 of 14
2:19-cv-02261-CSB-EIL # 1-1   Page 3 of 14
2:19-cv-02261-CSB-EIL # 1-1   Page 4 of 14
2:19-cv-02261-CSB-EIL # 1-1   Page 5 of 14
2:19-cv-02261-CSB-EIL # 1-1   Page 6 of 14
2:19-cv-02261-CSB-EIL # 1-1   Page 7 of 14
2:19-cv-02261-CSB-EIL # 1-1   Page 8 of 14
2:19-cv-02261-CSB-EIL # 1-1   Page 9 of 14
2:19-cv-02261-CSB-EIL # 1-1   Page 10 of 14
2:19-cv-02261-CSB-EIL # 1-1   Page 11 of 14
2:19-cv-02261-CSB-EIL # 1-1   Page 12 of 14
2:19-cv-02261-CSB-EIL # 1-1   Page 13 of 14
2:19-cv-02261-CSB-EIL # 1-1   Page 14 of 14
